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                            TENTH COURT OF APPEALS

Chief Justice
    Tom Gray

Justice
     Rex D. Davis
     Al Scoggins

                          McLennan County Courthouse
                         501 Washington Avenue, Rm 415
                            Waco, Texas 76701-1373
            Phone: (254) 757-5200              Fax: (254) 757-2822



                    Clerk
     Sharri Roessler
                                       
                                       
                                 July 30, 2015
                                       
                                       

In accordance with the enclosed Memorandum Opinion, below is the judgment in the numbered cause set out herein to be entered in the Minutes of this Court as of the 30[th] day of July, 2015.

10-13-00310-CV	JACKIE RUSSELL KEETER v. THE STATE OF TEXAS - ON APPEAL FROM THE 220[TH] DISTRICT COURT OF HAMILTON COUNTY - TRIAL COURT NO. CR06978/CR06361  -  DISMISSED - Memorandum Opinion by Justice Davis:

"This cause came on to be heard on the transcript of the record, and the same being considered, because it is the opinion of this Court that the appeal should be dismissed; it is therefore ordered, adjudged and decreed that the appeal be, and hereby is, dismissed for want of jurisdiction.  It is further ordered that Appellant Jackie Russell Keeter pay all costs in this behalf expended and that this decision be certified below for observance."
